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                         UN ITED STA TES D ISTRICT CO U RT FO R TH E
                              SOU TH ERN D ISTRICT OF FLO RID A

                      CA SE N O .19-23951-C1V -M ART1N EZ/OTA ZO-REYES

  BA RBAR A STON E,

         Plaintiff,



  W ILLIA M ELM OR E,eta1.,

         D efendants.


                        O R D ER AD M INISTR ATIV ELY C LO SIN G CA SE

         T H IS CA U SE is before the Courtupon a sua sponte review ofthe record.On N ovem ber

  4,2019,Plaintifffiledadocumentinthiscourtprose,(DE 9),in which sheindicatedthatsheis
  presently unable to proceed w ith this litigation due to the recent passing of her m other on

  Septem ber l7,2019.

         The Courtnotesthatnone ofthe D efendantshave been served and the 90-day deadline for

  service expiresD ecem ber3,20l9.The Courtissym pathetic w ith Plaintiffand therefore w illplace

  thism atter in a civilsuspense file.

         O RD ER ED A N D A DJUD G ED as follow s:

         l. The above-styled action is adm inistratively CL O SED untilfurtherorderofthis Court.

         2. Plaintiff shall tile a status report or serve Defendants prior to Decem ber 3, 2019

  indicating w hethershe is able to proceed w ith the litigation atthattim e.

             Failure to tim ely file a status report or tim ely serve D efendants w ill result in the

  immediatedismissalofthismatterwithoutprejudice,withoutfurthernotice.
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          4. Any pending m otions are D ENIED AS M O O T .
                                                                     r
          DONE AND ORDERED in ChambersatM iami,Floridathis b day ofNovember,
  2019.
                                                         z'
                                                         .
                                                        .z
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                                                     JO SE .M A RTIN EZ
                                                     UN IT D STA TES DISTR ICT JU D G E

  Copies to:
  United States M agistrate Judge Otazo-Reyes
  Counselofrecord
